Case 10-93904-BHL-11            Doc 1110     Filed 03/23/12     EOD 03/23/12 10:49:05        Pg 1 of 4




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 IN RE:                                  )                    Chapter 11
                                         )
 EASTERN LIVESTOCK CO., LLC,             )                    Case No. 10-93904-BHL-11
                                         )
                   Debtor.               )                    Hon. Basil H. Lorch III
 _______________________________________ )
 JAMES A. KNAUER, CHAPTER 11 TRUSTEE )
 OF EASTERN LIVESTOCK CO., LLC,          )
                                         )
       Plaintiff,                        )
                                         )                    Adversary Proceeding No. ___
       v.                                )
                                         )
 RON SHEPHARD,                           )
                                         )
       Defendant.                        )


                                     ADVERSARY COMPLAINT

          For his complaint against Ron Shephard, James A. Knauer, as Chapter 11 Trustee for

 Eastern Livestock Co., LLC, states as follows:

                                         Jurisdiction & Parties

          1.        The above-captioned adversary proceeding (the "Adversary Proceeding") arises in

 and is related to the above-captioned bankruptcy case (the "Chapter 11 Case"), which is currently

 pending under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the

 United States Bankruptcy Court for the Southern District of Indiana, New Albany Division (the

 "Court").

          2.        This Adversary Proceeding is brought pursuant to Rule 7001 of the Federal Rules

 of Bankruptcy Procedure.




 BDDB01 6909940v1
Case 10-93904-BHL-11         Doc 1110     Filed 03/23/12     EOD 03/23/12 10:49:05       Pg 2 of 4




         3.     This Court has jurisdiction over the subject matter of this Adversary Proceeding

 pursuant to 28 U.S.C. §§ 157 and 1334.

         4.     This Adversary Proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b).

         5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a).

         6.     Eastern Livestock Co., LLC ("ELC") was one of the largest cattle dealers in the

 United States, with operations and assets located in at least eleven states. ELC was

 headquartered in New Albany, Indiana, with branch locations across several states.

         7.     Certain petitioning creditors commenced the Chapter 11 Case on December 6,

 2010, by filing an involuntary petition for relief under the Bankruptcy Code. The Court entered

 the Order For Relief in An Involuntary Case and Order to Complete Filing on December 28,

 2010.

         8.     James A. Knauer ("Trustee") was appointed as the Chapter 11 Trustee for ELC.

         9.     Defendant Ron Shephard ("Defendant") is an individual residing at 80 Turner Rd,

 Creal Springs, IL 62922. Defendant did business with ELC.

                                     Factual Circumstances

         10.    From approximately September 29, 2010 to November 3, 2010, ELC and

 Defendant entered into multiple business transactions, whereby Defendant purchased cattle from

 ELC and agreed to pay for such cattle.

         11.    ELC delivered the purchased cattle to Defendant and sent Defendant invoices

 reflecting amounts owed for the purchases (the "Invoices"). True and accurate copies of the

 Invoices are attached hereto as Exhibit A.

         12.    On or about March 2, 2011, Development Specialists, Inc. ("DSI"), on behalf of

 the Trustee, sent Defendant a letter demanding payment of all outstanding obligations or proof



                                                 2
Case 10-93904-BHL-11          Doc 1110       Filed 03/23/12    EOD 03/23/12 10:49:05        Pg 3 of 4




 that Defendant had paid such obligations (the "Demand Letter"). A true and accurate copy of the

 Demand Letter is attached hereto as Exhibit B.

         13.     Despite demand, Defendant has refused to pay the Trustee amounts due and

 owing for his purchases of cattle delivered to him.

                                     Count I – Breach of Contract

         14.     The Trustee incorporates by reference the allegations contained in paragraphs 1

 through 13, inclusive, as if fully set forth herein.

         15.     Defendant is in breach of the contract between the parties for failing to pay

 amounts when due. The amount due and owing is equal to $219,100.87, plus interest.

         16.     ELC's estate has been damaged as a direct result of Defendant's breach.

         17.     All conditions precedent to the Trustee's claims have been performed, have

 occurred, or have been excused.

                                      Count II – Account Stated

         18.     The Trustee incorporates by reference the allegations contained in paragraphs 1

 through 17, inclusive, as if fully set forth herein.

         19.     Defendant did not respond or otherwise object to the Demand Letter, the Invoices

 or the amounts set forth therein.

         20.     Defendant is indebted to ELC in the sum of $219,100.87, plus interest, for goods

 provided by ELC to Defendant.

         21.     Defendant's indebtedness and account stated in the amount of $219,100.87, plus

 interest, is now past due and wholly unpaid.

         22.     All conditions precedent to the Trustee's claims have been performed, have

 occurred, or have been excused.



                                                    3
Case 10-93904-BHL-11           Doc 1110      Filed 03/23/12    EOD 03/23/12 10:49:05      Pg 4 of 4




         WHEREFORE, the Trustee requests that this Court enter judgment in the Trustee's favor

 and against Defendant and award the Trustee appropriate damages in the amount of $219,100.87,

 plus interest, and all other just and proper relief.

                                                 Respectfully submitted,

                                                 FAEGRE BAKER DANIELS LLP


                                                 By: /s/ Shawna Meyer Eikenberry

 Shiv Ghuman O'Neill (#23280-53A)                 Counsel for James A. Knauer, Chapter 11 Trustee
 Shawna Meyer Eikenberry (#21615-53)
 300 N. Meridian Street, Suite 2700
 Indianapolis, IN 46204-1782
 Telephone: (317) 237-0300
 Facsimile: (317) 237-1000
 shiv.oneill@faegreBD.com
 shawna.eikenberry@faegreBD.com




                                                        4
